             Case 3:22-cr-01152-BAS Document 48 Filed 08/29/22 PageID.378 Page 1 of 2

                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA                                  CASE NUMBER 22-CR-1152-BAS

                              vs                                  ABSTRACT OF ORDER

       Sanjiv Taneja (3)                                          Booking No.


TO THE UNITED STATES MARSHAL AND / OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
           Be advised that under date of       8/29/2022
the Court entered the following order:


                         Defendant be release from custody.

                         Defendant placed on supervised / unsupervised probation / supervised release.

                         Defendant continued on supervised / unsupervised probation / supervised release.

                         Defendant released on                                                     Bond posted.

                         Defendant appeared in Court. FINGERPRINT & RELEASE.

                         Defendant remanded and (                bond ) (             bond on appeal ) exonerated.

                         Defendant sentenced to TIME SERVED, supervised release for                     years.

                         Bench Warrant Recalled.

                         Defendant forfeited collateral.

                         Case dismissed.

                         Case dismissed, charges pending in case no.

                         Defendant to be release to Pretrial Services for electronic monitoring.

                         Other.




                                                                      ANDREW G. SCHOPLER
                                                               UNITED STATES DISTRICT/MAGISTRATE JUDGE

                          8/29/22                                                         OR
                                       JOHN MORRILL, Clerk of Court
                                                               by M. Exler (619) 446-3764



Crim-9 (Rev. )
    
 Case 3:22-cr-01152-BAS Document 48 Filed 08/29/22 PageID.379 Page 2 of 2


From:                  CAS Releases
To:                    Melissa Exler
Subject:               Read: 22CR1152-BAS TANEJA ABSTRACT
Date:                  Monday, August 29, 2022 2:21:32 PM

Your message
   To: CAS Releases
   Subject: 22CR1152-BAS TANEJA ABSTRACT
   Sent: Monday, August 29, 2022 2:18:15 PM (UTC-08:00) Pacific Time (US & Canada)
 was read on Monday, August 29, 2022 2:20:39 PM (UTC-08:00) Pacific Time (US & Canada).
